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TlFFANY LEMONS
Needum Louis Germanv, l||. FPD
Defense Attorney
200 Jefferson, Ste. 200
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count1 of the information on |V|arch 04, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title a section MQ_.QM offense Numberjs)
Conc|uded
18 U.S.C. § 641 Theft of U.S. Government Property 04/04/2003 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 02/12/1976 June 06, 2005
Deft’s U.S. l\/|arshal No.: 19814-076

/A/ BERNlcE B DoNALD
uNiTED sTATEs oisTRicT JuocE

Defendant’s l\/lai|ing Address:
45 Vickie St.
Atoka, TN 38004

June /@ , 2005

This document entered on the docket heat in ompiiance
With Ru|e 55 and/or 32(b) FFlCrf-" en § " /OS’ @

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Case No: 2:050R20064-01 Defendant Name: Tiffany LEMONS Page 2 of 4

PROBAT|ON

The defendant is hereby placed on probation for a term of 1 Year.

Whi|e on probation, the defendant shall not commit another federa|, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). |f this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test Within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant sha|i answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly ata lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shaii not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urina!ysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofticer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ocher;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2;OSCR20064-01 Defendant Name: Tiffany LEMONS Page 3 of 4

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ocher, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendants compiiance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such nne or restitution in accordance with the Schedu|e of Payments set
forth in the Crirnina| Monetary Pena|ties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall obtain and maintain full-time employment

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Tota| Fine Tota| Restitution

$25.00 $4,699.29*

The Specia| Assessment shall be due immediate|y.

F|NE
No fine imposed.

REST|TUTION
Restitution in the amount of $4,699.29* is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

(* l_ess credit for payments made directly to the Navy Exchange by the defendant.)

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Case No: 2:050R20064-01 Defendant Name: Tiffany LEMONS Page 4 of 4
Priority
Total Amount of Order
Name of pa!£ee Amount Restitution Ordered or
of Loss Percentage
of Payment
NAV¥ EXCHANGE, $4,699.29 $4,699.29

LOSS PREVENT|ON

5722 |NTEGR|TY DR.
|V|iLL|NGTON, TN 38054-5025
ATTN? ER|C M|LLER
901-872-0139 EXT. 140

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othenrvise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered Wil| be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

SCHEDULE OF PAVMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penaities:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income. interest requirement is waived. The defendant shall
notify the Court and the United States Attorney of any material change in economic
circumstances that may affect the defendants ability to pay restitution.

Unless the court has expressly ordered otherwise in the special instructions above, if thisjudgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment A|i criminal monetary penalties, except those payments made through the
Federa| Bureau of Prisons’ inmate Financial Responsibi|ity Program, are made to the clerk of the
court, unless othenrvise directed by the court, the probation ofticer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20064 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

